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                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA



IN VANGUARD CHESTER FUNDS               Case No. 2:22-cv-955-JFM
LITIGATION
                                        CLASS ACTION


  REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF PLAINTIFFS’
MOTIONS FOR: (1) FINAL APPROVAL OF CLASS ACTION SETTLEMENT; AND (2)
   AN AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION
                 EXPENSES, AND AWARDS TO PLAINTIFFS
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I.     INTRODUCTION

       Plaintiffs Haifan Liang, Julia Lucas, Donald R. Lichtenstein, Samuel B. Skraly, Ardes

Poisson, Valerie M. Verduce, John Harvey, Caitlin Brigham, Jeffrey Chaussee, Zeb Bradford,

Benjamin Deming, and James Daily (“Plaintiffs”) submit this memorandum in further support of

their motions for: (1) final approval of the proposed class action Settlement and Plan of Allocation

(Dkt. No. 154); and (2) an award of attorneys’ fees, reimbursement of litigation expenses, and

awards to Plaintiffs (Dkt. No. 155) (together, the “Motions”).1 This memorandum updates the

Court on the status of the notice program, the status of the claims process, and the Settlement

Class’s reaction to the Motions, as well as explains why each of the objections filed by Settlement

Class Members are without merit and provide no grounds upon which to deny the Motions.

       After two and a half years of hard-fought litigation and a successful mediation facilitated

by an experienced and widely renowned mediator, Plaintiffs achieved a $40,000,000 all-cash, non-

reversionary settlement, which they submitted to the Court for final approval. In their opening

memoranda in support of the Motions, Plaintiffs set forth ample grounds supporting final approval

of the proposed Settlement and Plan of Allocation (Dkt. No. 154-1, “Final Approval Brief”), and

an award of attorneys’ fees and expenses and awards to Plaintiffs (Dkt. No. 155-1, “Fee Brief”).

Now that the deadlines for filing claims and submitting exclusion requests or objections have

passed, the reaction of the Settlement Class provides further support for the Court to find that the

Settlement and Plan of Allocation are fair, reasonable, and adequate, and the requested awards to

Class Counsel and Plaintiffs are merited. For this additional reason, the Court should grant the

Motions. As explained herein, none of the objections warrant a different result.


1
  All capitalized terms not otherwise defined herein shall have the same meanings ascribed to them
in the Stipulation of Settlement dated November 6, 2024 (“Stipulation”) (Dkt. No. 148). Citations
and quotations are omitted and emphasis is added, unless otherwise noted.


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II.    STATEMENT OF FACTS

       The Court-appointed Claims Administrator, Strategic Claims Services (“SCS”), under the

guidance of Class Counsel, timely and effectively disseminated notice to Settlement Class

Members in accordance with the Court’s instructions in the Preliminary Approval Order (Dkt. No.

152). SCS sent over 312,000 copies of the Summary Notice via email with direct links to the Long

Notice and Claim Form, or the Postcard Notice via mail, to potential Settlement Class Members.

Supplemental Declaration of Sarah Evans (“Evans Suppl. Decl.”) ¶5.2 SCS also published the

Summary Notice electronically over GlobeNewswire and in PR Newswire. (Dkt. No. 156-1,

“Evans Decl.”) ¶12. On December 13, 2024, SCS established a website dedicated to the Settlement

which included the online claim filing link and important documents including the Long Notice,

Claim Form, Preliminary Approval Order, and Stipulation. Evans Suppl. Decl. ¶10. SCS has also

maintained a toll-free telephone number for potential Settlement Class Members. Id. ¶9.

       On February 4, 2025, two weeks prior to the objection deadline, Plaintiffs filed their

opening papers in support of the Motions. (Dkt. Nos. 154-55). The Motions were supported by the

declarations of Plaintiffs, Class Counsel, Additional Plaintiffs’ Counsel, the Claims Administrator,

and the mediator Judge Layn R. Phillips, a former U.S. District Judge. (Dkt. No. 156).

       The Long Notice, Summary Notice, and settlement website informed Settlement Class

Members of the February 11, 2025 claims filing deadline and the February 18, 2025 deadline to

submit any objection to the Settlement, Plan of Allocation or fee and expense application, or to

request exclusion from the Settlement Class. See Evans Suppl. Decl., ¶11. Those deadlines have

now passed. To date, potential Settlement Class Members have submitted 187,602 claims. Id. ¶13.



2
 The Supplemental Declaration of Sarah Evans is attached as Exhibit 1 to the Supplemental
Declaration of Joshua Baker (“Baker Suppl. Decl.”), filed concurrently herewith.


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Nine objections have been filed, each of which are addressed below. Id. ¶12. SCS received a total

of seven valid requests for exclusion from the Settlement. Id. ¶11.3

       An updated version of the Proposed Order and Final Judgment (Dkt. No. 148-6),

conformed to the Preliminary Approval Order and reflecting the valid exclusion requests, is

submitted herewith. Baker Suppl. Decl., Ex. 2.

III.   ARGUMENT

       A.      The Reaction of the Settlement Class Supports Final Approval

       One of the factors that courts in the Third Circuit consider when evaluating a proposed

class action settlement is “the reaction of the class to the settlement.” In re Wawa, Inc. Data Sec.

Litig., 2023 WL 6690705, at *3 (E.D. Pa. Oct. 12, 2023) (citing Girsh v. Jepson, 521 F.2d 153 (3d

Cir. 1975)). Here, the reaction of the Settlement Class was overwhelmingly positive. At Class

Counsel’s direction, SCS carried out a thorough notice program in accordance with the Court’s

Preliminary Approval Order, directly notifying over 312,000 potential Settlement Class Members

of the pending Settlement. Over 181,000 claims were submitted, compared to only nine objectors

and seven valid opt-outs. This “Girsh” factor weighs heavily in favor of approving the Settlement.

       The low number of objectors compared to the number of notices sent and claims submitted

demonstrates strong support for the fairness, reasonableness, and adequacy of the Settlement. See,

e.g., In re Cendant Corp. Litig., 264 F.3d 201, 235 (3d Cir. 2001) (“The vast disparity between the

number of potential class members who received notice of the Settlement [roughly 478,000, with



3
  In total, SCS received 12 exclusion requests. Id. This includes three invalid requests for exclusion
that did not conform to the Court’s directions. Evans Decl. ¶15; Preliminary Approval Order ¶¶25-
26. SCS promptly notified these individuals of the deficiencies in their requests but received no
response or attempt to cure the deficient requests. Evans Decl. ¶15. These three exclusion requests
remain invalid. Evans Suppl. Decl. ¶11. One exclusion request was submitted by a person who is
not a Settlement Class Member. Id. One exclusion request was revoked by the requestor. Id.


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nearly 120,000 claims filed] and the number of objectors [six] creates a strong presumption that

this factor weighs in favor of the Settlement”); Stoetzner v. U.S. Steel Corp., 897 F.2d 115, 118–

19 (3d Cir. 1990) (when “only” 29 members of a class of 281 objected, the response of the class

as a whole “strongly favors settlement”); Bell Atl. Corp. v. Bolger, 2 F.3d 1304, 1313–14 (3d Cir.

1993) (noting that “[l]ess than 30 of approximately 1.1 million class members objected,”

representing an “infinitesimal” fraction of the class); In re Orthopedic Bone Screw Prods. Liab.

Litig., 176 F.R.D. 158, 185 (E.D. Pa. 1997) (“the relatively low objection rate militates strongly in

favor of approval of the settlement.”); Nichols v. SmithKline Beecham Corp., 2005 WL 950616,

at *21 (E.D. Pa. Apr. 22, 2005) (six objections to the settlement out of over 37,000 individual

notices sent is “extremely small” and supports approval of the settlement); In re Genta Sec. Litig.,

2008 WL 2229843, at *2 (D.N.J. May 28, 2008) (“it is beyond dispute that the Settlement Class’

reaction is favorable” when only eight objections were received); Serio v. Wachovia Sec., LLC,

2009 WL 900167, at *7 (D.N.J. Mar. 31, 2009) (finding that a “low percentage of objections is

evidence, in and of itself, that the Settlement should be approved because the class believes the

settlement is fair.”).4

        Likewise, a low number of requests for exclusion from the Settlement further demonstrates

the Settlement Class’s positive reaction to the Settlement and supports final approval. See Cendant,

264 F.3d at 234-35 (234 requests for exclusion out of 478,000 notices sent to class members “cuts

strongly in favor of the Settlement.”); Whiteley v. Zynerba Pharms., Inc., 2021 WL 4206696, at

*3 (E.D. Pa. Sept. 16, 2021) (two exclusion requests out of 24,000 potential class members was



4
  See also Maher v. Zapata Corp., 714 F.2d 436, 456 (5th Cir. 1983) (holding that the “minimal
nature of shareholder objection” favors approval of settlement); Wal-Mart Stores, Inc. v. Visa
U.S.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005) (“If only a small number of objections are received,
that fact can be viewed as indicative of the adequacy of the settlement.”).


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“persuasive evidence of the fairness and adequacy of the proposed settlement, and weighs in favor

of a final approval”); Serrano v. Sterling Testing Sys., Inc., 711 F. Supp. 2d 402, 415 (E.D. Pa.

2010) (lack of exclusion requests was “persuasive evidence of the proposed settlement’s fairness

and adequacy,” citing Cendant, 264 F.3d at 234-35); Glaberson v. Comcast Corp., 2015 WL

5582251, at *9 (E.D. Pa. Sept. 22, 2015) (three exclusion requests and three objections out of class

of 800,000 class members “weighs in favor of approval of the settlement”).

       Similarly, that only four objections to the Plan of Allocation were filed (as discussed

below), compared to the hundreds of thousands of notices sent and claims submitted, supports final

approval of the Plan of Allocation. See In re Reliance Sec. Litig., 2002 WL 35645209, at *11 (D.

Del. Feb. 8, 2002) (“the fact that ... only two Class Members have objected to the Allocation

Agreement and Plan of Allocation weighs in favor of the approval of these settlements and the

Plan of Allocation.”).

       B.      The Reaction of the Settlement Class Also Supports Approval of the
               Requests for Attorneys’ Fees and Expenses and Awards to Plaintiffs

       One of the factors that courts in the Third Circuit consider when evaluating requests for

attorneys’ fees and expenses is “the presence or absence of substantial objections by members of

the class to the settlement terms and/or fees requested by counsel.” In re AT & T Corp., 455 F.3d

160, 165 (3d Cir. 2006) (citing Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 (3d Cir.

2000)). Here, the low number of objections to the fee and expense requests, especially in light of

the hundreds of thousands of notices sent and claims submitted, supports approval of the requested

awards. See, e.g., In re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 305 (3d Cir. 2005) (finding the

class’s reaction supported fee request where “[n]otice of the fee request and the terms of the

settlement were mailed to 300,000 class members, and only two objected. We agree with the

District Court such a low level of objection is a ‘rare phenomenon.’”); Nichols, 2005 WL 950616,



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at *21 (finding three objections to fee request out of over 37,000 individual notices sent was

“extremely small” and “weigh[s] in favor of approval of the requested fee”); In re Sterling Fin.

Corp. Sec. Class Action, 2009 WL 2914363, at *2 (E.D. Pa. Sept. 10, 2009) (where there were

only two objections to the fee request, “this factor weigh[ed] strongly in favor of approving the

requested fee award.”); Boone v. City of Philadelphia, 668 F. Supp. 2d 693, 713 (E.D. Pa. 2009)

(single objection to the proposed attorneys’ fees “weighs in class counsels’ favor.”); In re

Hemispherx Biopharma, Inc., Sec. Litig., 2011 WL 13380384, at *8 (E.D. Pa. Feb. 14, 2011) (“The

miniscule number of objections here—only two—supports the reasonableness of the proposed

award.”); In re Cell Pathways, Inc., Sec. Litig. II, 2002 WL 31528573, at *9 (E.D. Pa. Sept. 23,

2002) (noting one objection to fee request demonstrates “that the class views the settlement as a

success.”); Genta, 2008 WL 2229843, at *9 (“the lack of meritorious objections … favors

awarding the requested attorneys’ fee.”); In re Telik, Inc. Sec. Litig., 576 F. Supp. 2d 570, 594

(S.D.N.Y. 2008) (“That only one objection to the fee request was received is powerful evidence

that the requested fee is fair and reasonable.”).

       There were no objections at all to Plaintiffs’ Counsel’s request for reimbursement of

$877,457.47 in litigation expenses or the requested awards to Plaintiffs of $20,000 each, which are

less than or equal to the maximum figures (expenses of up to $985,000, and awards to Plaintiffs

of up to $20,000 each) presented to potential Settlement Class Members in the Notice. See Evans

Decl., Ex. A at 1. The lack of any objections weighs in favor of granting those requests. Yedlowski

v. Roka Bioscience, Inc., 2016 WL 6661336, at *23 (D.N.J. Nov. 10, 2016) (lack of objections to

requests for expense reimbursement or award to lead plaintiff supported approval of those

requests); In re Par Pharm. Sec. Litig., 2013 WL 3930091, at *11 (D.N.J. July 29, 2013) (same).




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       C.      The Mitchell, May, Chernoff, Kiribamune, Duram, Warner, and Wiedwald
               Objections are Each Without Merit

       Objections to the Settlement and/or requests for attorneys’ fees were filed by Peter S.

Mitchell (Dkt. No. 153, “Mitchell Objection”), Eric May and Kelly Welchans (Dkt. No. 157, “May

Objection”), Michael Chernoff (Dkt. No. 158, “Chernoff Objection”), Navin Kiribamune (Dkt.

No. 159, “Kiribamune Objection”), George Thomas Duram (Dkt. No. 160, “Duram Objection”),

David Wiedwald (Dkt. No. 162, “Wiedwald Objection”), and David H. Warner and Laura

Breyfogle (Dkt. No. 163, “Warner Objection”). The Court should overrule each of these

objections. Not one of these objections contains any citation to legal precedent, nor do they present

any factual basis or persuasive argument for denying approval of the Settlement or the requested

attorneys’ fees.

       To the extent some of these objections are procedurally deficient, as described below, they

should be overruled on those grounds. The Court’s Preliminary Approval Order sets forth the

requirements for anyone wishing to object to the Settlement and states that “[a]ny Settlement Class

Member who does not object in the manner prescribed above shall be deemed to have waived all

such objections.” Preliminary Approval Order ¶32.

               1.      The Court Should Overrule the Mitchell Objection

       The Mitchell Objection comprises conclusory allegations about Vanguard’s conduct and

asks that the Court “revoke the settlement,” which Mitchell opines “should impose severe

reputational cost and financial consequences to the Vanguard Group.” However, this is not a

sentencing hearing based on a conviction, this is an arms’-length settlement of certain legal claims

based on allegations that Plaintiffs had not yet proven (and Defendants have not conceded).

       Mitchell’s assertion regarding investor losses from “lost opportunity to invest funds

otherwise paid in taxes” does not hold water, which is why Plaintiffs did not pursue that theory of



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damages. That class members could have made money by investing the funds that they instead had

to use to pay the excess taxes (i.e., their out-of-pocket loss) is true in every case. The money used

to pay the excess taxes could have come from anywhere, it was not tied directly to the Target

Retirement Fund (“TRF”) investment. If D steals $100 from P’s wallet, P cannot recover additional

damages beyond the $100 for hypothetical returns P might have realized if P had invested that

$100 (aside from ordinary prejudgment interest). This makes sense as there is no way to prove

what amount P might have made (or lost) on the hypothetical investment. Putting aside the funds

used to pay the excess taxes, the capital gains distributions themselves could have been reinvested

in the TRFs (as many investors do, automatically), offering the same compound growth

opportunity Mitchell claims to have lost. In any event, Plaintiffs’ damages theory and

methodologies incorporated prejudgment interest rates to appropriately account for losses incurred

due to the time value of money. For these reasons, the Court should overrule the Mitchell

Objection.5

               2.      The Court Should Overrule the May Objection

       The May Objection is likewise without merit.6 May and Welchans offer absolutely no

support for their conclusory assertions that “a review of the docket demonstrates Plaintiff’s counsel

did not perform $13 million worth of legal services” and that “Plaintiffs’ counsel did not take on

much risk because the case would easily settle if Vanguard were offered an 85% discount.”

Although it appears that both May and Welchans are attorneys, Baker Suppl. Decl. ¶8, they fail to



5
 The Mitchell Objection also fails to address whether Mitchell has filed any objections to class
action settlements within the last five years, as required by the Court (Preliminary Approval Order
¶31), and is thus procedurally deficient.
6
  It does not appear that Welchans is a Settlement Class Member, as the only information provided
in the May Objection corresponds to an account that appears to be held solely by May. Baker
Suppl. Decl. ¶8.


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engage whatsoever with the facts, legal analysis, and arguments presented in the Fee Brief, and

they fail to cite any legal precedent or salient facts supporting their position. Plaintiffs’ Counsel

detailed the work they performed – over 5,600 hours of professional time (Fee Brief at 13-14), the

substantial litigation risks and risk of non-payment that they faced (id. at 10-14), as well as the fact

that the estimated recovery of 15.4% of maximum damages is favorable compared to settlements

of comparable size class actions and is based on Plaintiffs’ best case scenario – which assumes

Plaintiffs would prevail at class certification, summary judgment, trial, and appeals, and that a jury

accepted in full Plaintiffs’ novel damages theory (id. at 6-7). The adversarial arms’-length

negotiations overseen by an experienced mediator, who is a former federal judge, also demonstrate

that Vanguard and the other Defendants (represented by experienced and informed counsel) did

not “easily settle” the Action for $40 million. (Final Approval Brief at 11-13). Thus, the Court

should overrule the May Objection.

               3.       The Court Should Overrule the Chernoff Objection

       The Chernoff Objection is also without merit. Chernoff makes similar flawed and

conclusory assertions as Mitchell regarding Vanguard’s alleged (but unproven) conduct and the

opportunity loss of compounding returns. Those arguments fail for the same reasons as Mitchell’s

objection. Supra §III(C)(1). Despite Chernoff’s claims that Vanguard’s conduct was “documented

and irrefutable,” he points to no such evidence. Chernoff also asserts that the amount of attorneys’

fees is not warranted by the amount of the Settlement and estimated percent of damages recovered.

To the contrary, the Settlement Amount and estimated percentage recovered for the Settlement

Class strongly support the amount of attorneys’ fees requested, as the 15.4% recovery compares

favorably to recoveries in similar sized cases. Fee Brief at 6-8. For these reasons the Court should

overrule the Chernoff Objection.




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               4.      The Court Should Overrule the Kiribamune Objection

       The Kiribamune Objection is likewise without merit. Kiribamune provides no support for

his conclusory assertion that the Settlement amount is inadequate simply because it “will cover

only a fraction of the capital gains tax we had to pay.” To the contrary, the relief provided to the

Settlement Class is adequate, taking into account the costs, risks, complexity, and delay of

continued litigation. Final Approval Brief at 13-17. Moreover, the relevant measure of damages is

the amount of excess capital gains taxes paid net of potential future tax benefits, not simply the

amount of capital gains taxes paid. Kiribamune provides no support whatsoever for his assertion

that the attorneys’ fees requested are “too excessive.”7 The Court should overrule the Kiribamune

Objection.

               5.      The Court Should Overrule the Duram “Objection”

       Duram sent an email to the Court’s chambers explaining that he received Postcard Notices

a few days after the claims submission deadline. Duram does not expressly object to the

Settlement, but his email was filed as an “objection.” (Dkt. No. 160). It is not evident from his

email whether or not Duram is a Settlement Class Member.8 Baker Suppl. Decl. ¶9.

       It is SCS’s understanding that these late notices received by Duram, Larson, and others

who have contacted Class Counsel and SCS, are due to a nominee that sent out a batch of Postcard

Notices to potential Settlement Class Members on or around February 11, 2025. Evans Suppl.

Decl. ¶6. SCS has informed potential Settlement Class Members who received these late notices

that SCS is still accepting claim submissions. Id. Plaintiffs anticipate moving the Court to accept


7
  The Kiribamune Objection also fails to address whether Kiribamune is represented by any
counsel, or whether he has filed any objections to class action settlements within the last five years,
as required by the Court (Preliminary Approval Order ¶31), and is thus procedurally deficient.
8
 The Court filed a similar email from Randy Larson on February 20, 2025 (Dkt. No. 168), which
was not filed as an “objection,” informing the Court of Larson’s receipt of a late notice.


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reasonably late valid claims when Plaintiffs move for distribution of the settlement funds upon

completion of the claims validation process. Baker Suppl. Decl. ¶10.

       In any event, that some potential Settlement Class Members received individual notice

after the claims filing deadline due to a late mailing by a nominee does not render the Settlement

or the Notice Program deficient. In Varacallo v. Massachusetts Mut. Life Ins. Co., 226 F.R.D. 207,

227 (D.N.J. 2005), the court overruled objections that notices were received too late where “the

overwhelming majority received their Notices with more than sufficient time to review the Notice,

call the toll-free number or Class Counsel for more information, and/or even to consult with

counsel” and “the vast majority of the Class Members received their Notices within 45 to 60 days

before any of the deadlines, and about three months before the Fairness Hearing.” Moreover, the

Varacallo court explained that “[e]ven for those did not receive a Class Notice Package, the

Summary Notice[...] was published in leading newspapers and magazines....” Id. As the Varacallo

court noted, “Rule 23 only requires the ‘best possible notice under the circumstances.’ It does not

require perfect notice.” (See also Final Approval Brief at 23-25). Here, SCS disseminated

individual notice to over 200,000 potential Settlement Class Members at least 45 days before any

of the relevant deadlines, caused over 100,000 more notices to be sent via nominees or after

receiving contact information from nominees (most of which were sent well in advance of the

deadlines), and published the Summary Notice twice in leading online newswires over one month

or more before the deadlines. Evans Decl. ¶¶6-10.

               6.     The Court Should Overrule the Wiedwald Objection

       The Wiedwald Objection is also without merit. Wiedwald incorrectly asserts that the

Settlement Amount is inadequate because the Plan of Allocation does not use individual tax rates

as an input variable. Estimated tax rates were incorporated into Plaintiffs’ expert’s estimation of




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maximum aggregate damages. See Final Approval Brief at 14 and n.3. Individual tax rates were

not incorporated into the Plan of Allocation to avoid requiring the submission of tax returns, for

the reasons detailed in the Final Approval Brief at 22.

       Wiedwald’s comparison of the amounts recovered in the SEC Settlement and the

Settlement in this Action is inapt, because the SEC Settlement involved entirely distinct legal

claims (for misrepresentations, as opposed to breach of fiduciary duty), with a different standard

of proof (administrative proceeding versus civil action), against different defendants (only

Vanguard was named), with different litigation risks and posture (including not requiring Rule 23

class certification). See Dkt. No. 156-26 (SEC Settlement). In fact, the SEC Settlement, which

came months after this Settlement was signed and preliminarily approved by the Court and was

not known to Plaintiffs or their counsel until it was published in January 2025, expressly credits

the $40 million recovery already achieved for investors in this Settlement. Id. ¶44. That the SEC

Settlement provides additional funds for Settlement Class Members does not take away from the

value provided, and risks avoided, by this Settlement.

       Wiedwald makes the conclusory assertion that this Action is “not complex” because

“Vanguard’s own internal documents” purportedly showed its knowledge of the tax impact of its

decision, but he ignores that those allegations had not been proven or admitted. Even if Plaintiffs

had had the benefit of the SEC’s findings (which postdated the Settlement) in this Action, there

was no guarantee that Plaintiffs would prevail at class certification, summary judgment, or trial on

their claims, given Defendants’ anticipated defenses and the different nature of claims alleged by

the SEC.9



9
  Plaintiffs and Class Counsel did not have access to the SEC’s findings until they were published
in January 2025. Dkt. No. 156 ¶¶55-56. Plaintiffs and Class Counsel also did not have access to



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       Finally, contrary to Wiedwald’s assertion, the Plan of Allocation provides reasonable and

proportional compensation to investors as those who received greater capital gains distributions

and incurred greater tax liabilities will receive greater distributions from the Net Settlement Fund,

subject to the weights accounting for differences between the various TRFs in the amount of excess

distributions and the relative losses of the time value of money. The Plan of Allocation is described

in detail in the Long Notice (Evans Decl., Ex. A at 4-5), and support for the Plan of Allocation is

described in the Final Approval Brief at 20-23. For these reasons the Court should overrule the

Wiedwald Objection.

               7.      The Court Should Overrule the Warner Objection

       The Warner Objection also lacks merit. Warner and Breyfogle claim that the Plan of

Allocation may underestimate their damages because: (1) they did not plan to sell their TRFs and

thus would have paid no taxes if not for the 2021 distribution; (2) they paid net investment income

taxes (“NIIT”) and relatively high state taxes; and (3) they incurred collateral tax consequences.10

However, in order to accurately account for actual future TRF sales (or lack thereof), rather than

plans (which can change), one would need to wait until every Settlement Class Member disposed

of their TRF shares, which could take decades. The Plan of Allocation uses assumptions for when

Settlement Class Members would sell their shares in order to allow settlement claims to be

calculated and distributed now, rather than decades into the future when such plans may (or may

not) finally come to fruition. See Final Approval Brief at 22. Accurately accounting for individual

NIIT and state tax liabilities and collateral tax consequences incurred would require claimants to



any of Vanguard’s internal documents during the pleading stage as discovery was stayed until after
Plaintiffs prevailed on Defendants’ motions to dismiss. See Dkt. No. 92.
10
  It does not appear that Breyfogle is a Settlement Class Member, as the only information provided
corresponds to an account that appears to be held solely by Warner. Baker Suppl. Decl. ¶11.


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submit tax returns and potentially additional documentation, which the Plan of Allocation avoids

for the reasons described in the Final Approval Brief at 22.

       The Warner Objection also proposes that new language be added to the Settlement that

clarifies that nothing in the Settlement reduces or limits Settlement Class Members’ ability to

participate in the Fair Fund established by the SEC Settlement. No such language is necessary

because: (A) eligibility criteria for participation in the SEC’s Fair Fund will be determined by the

SEC, who have not yet made such determinations (Baker Suppl. Decl. ¶12); and (B) nothing in

this Settlement, including the releases by Settlement Class Members, stands to preclude or limit

Settlement Class Members’ ability to recover in a Fair Fund that appears to provide recovery for

essentially the exact same set of impacted TRF investors, especially in light of the SEC’s express

acknowledgement of this Settlement. Dkt. No. 156-26 (SEC Settlement) ¶44. For these reasons

the Court should overrule the Warner Objection.

               8.      The Court Should Disregard the Agnich Email

       On February 19, 2025, an email to the Court’s chambers from Robert Agnich was filed

(Dkt. No. 166, “Agnich Email”). Agnich claims that Class Counsel did not return his emails or

phone call. That is false. Class Counsel emailed Agnich on February 5, 2025, and spoke with

Agnich for nearly 20 minutes on February 6, 2025. Baker Suppl. Decl. ¶13. The Claims

Administrator timely received the valid exclusion request from Agnich’s wife, as referenced in the

email. See Evans Suppl. Decl. ¶11, Ex. A. Agnich has not submitted any objection or the “input”

he vaguely alludes to. The Court should disregard the Agnich Email.




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       D.      The Brewer Objection is Without Merit

       An objection was also filed by John W. Brewer (Dkt. No. 165, “Brewer Objection”),

challenging only the calculation of weights under the Plan of Allocation.11 Brewer is simply

Monday-morning-quarterbacking the details of the Plan of Allocation devised by Class Counsel

and Plaintiffs’ damages expert, whom are each intimately familiar with the case and the complex

damages and economic issues involved. Contrary to Brewer’s assertions, the assumptions and

general methodology underlying the calculation of the weights by Plaintiffs’ expert, Dr. Tabak,

are set forth in the Final Approval Brief and supporting declaration. (See Final Approval Brief at

22 n.5 and Dkt. No. 156 ¶49).

       Notably, Brewer does not assert any evidence of actual intra-class conflicts, and in fact he

expressly disclaims that “I do not have any affirmative grounds to suggest that those who have

prepared the current Plan of Allocation have any conflict or structural incentive to favor certain

Class Members over others.” Brewer Objection at 5. Indeed, Brewer recognizes that five of the

twelve Plaintiffs owned the 2015 and 2025 TRFs that Brewer held (id.), and they nonetheless

approved the Settlement and Plan of Allocation on behalf of the entire Settlement Class. (See Dkt.

No. 120 (complaint) ¶¶23, 25, 27, 29, 30; Dkt. Nos. 156-7 through 156-18 (Plaintiffs’

declarations)). Moreover, Plaintiffs were a knowledgeable and sophisticated group of investors

who dedicated significant time to overseeing Plaintiffs’ Counsel throughout the litigation

including, for example, a former senior counsel for the FTC who spent at least 140 hours on the



11
   The Brewer Objection was filed on February 19, 2025, a day after the Court-imposed deadline
for objections. Unlike the Wiedwald and Warner Objections, which were also filed late but bore a
stamp indicating they were timely received by the Clerk of Court on February 18, 2025, the Brewer
Objection contains no such indication that it was timely received, only Brewer’s certification that
it was sent on February 12, 2025. To the extent the Brewer Objection is thus untimely, it is
procedurally invalid and waived. Preliminary Approval Order ¶¶31-32.


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Action (Dkt. No. 156-12), a business professor at the University of Colorado (Dkt. No. 156-9),

and a chief investment officer for an international real estate company (Dkt. No. 156-16).

       Brewer asserts that the Plan of Allocation must be the “fairest” possible formula for all

Settlement Class Members, but that is not the applicable standard for approval. A proposed Plan

of Allocation need only have a reasonable and rational basis to warrant final approval. Hemispherx,

2011 WL 13380384 at *7 (citing In re Schering-Plough Corp. Sec. Litig., 2009 WL 5218066, at

*5 (D.N.J. Dec. 31, 2009)); (see also Final Approval Brief at 21). “In general, a plan of allocation

that reimburses class members based on the type and extent of their injuries is reasonable.” In re

Ikon Off. Sols., Inc., Sec. Litig., 194 F.R.D. 166, 184 (E.D. Pa. 2000). Here, the Plan of Allocation

had a rational basis, as detailed in the Final Approval Brief at 20-23. With respect to Brewer’s

qualms with the discount rate applied, the rate Dr. Tabak applied in calculating the weights is the

same 8.0% interest rate he used in estimating aggregate damages. See Id. at 22 n.5 and 14 n.3. The

8.0% interest rate was the federal prime rate at the time of calculation, which courts often use for

prejudgment interest. See, e.g., Dwyer v. Unum Life Ins. Co. of Am., 548 F. Supp. 3d 468, 498

(E.D. Pa. 2021); Gleason v. Norwest Mortg., Inc., 2008 WL 2945989, at *3 (D.N.J. July 30, 2008).

       Brewer’s unsupported opinion that there might be a fairer calculation of weights that a

special master (appointed at the Settlement Class’s expense) could theoretically assess does not

negate the fact that the Plan of Allocation, devised by Class Counsel and Plaintiffs’ well-informed

damages expert and unanimously approved by Plaintiffs who collectively held eleven of the twelve

TRFs, has a rational and reasonable basis to fairly allocate the Net Settlement Fund. Brewer

concedes that he cannot demonstrate that the Plan of Allocation uses an inappropriate discount

rate, as he claims, nor that it is unfair or prejudicial to investors in the 2025 TRF like himself (and

several of the Plaintiffs). In Sullivan v. DB Invs., Inc., 667 F.3d 273, 289–90 (3d Cir. 2011), the




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Third Circuit noted that the district court referred the $295 million settlement to a special master

to consider and recommend (among other issues) a distribution plan—an arduous and expensive

two-year process that generated “several lengthy Report and Recommendations” after reviewing

“competing econometric reports furnished by several experts.” The Third Circuit did not say that

such a process was required or necessarily suitable for assessing any plan of allocation, nor did it

change the legal standard for approving a proposed plan. Id. No such expensive and lengthy

undertaking is merited here for allocating a Net Settlement Fund roughly 10% the size of the

Sullivan settlement, where the Plan of Allocation has a rational, reasonable basis, was developed

by counsel and a well-informed expert, and was approved by a diverse set of Plaintiffs without any

evidence of actual intra-class conflict or bias. Accordingly, the Court should overrule the Brewer

Objection.

       E.      The Hughes Objection is Without Merit

       An objection was also filed by John Hughes (Dkt. No. 161, “Hughes Objection”). None of

the arguments raised in the Hughes Objection provide any grounds for rejecting or amending the

Settlement, Plan of Allocation, or the requests for attorneys’ fees. The Hughes Objection should

be overruled as well.

               1.       The Hughes Objection Falsely Portrays the SEC Settlement as a “Pre-
                        Existing Obligation”

       The Hughes Objection is fundamentally flawed because it falsely asserts that the

Settlement provides no recovery for Settlement Class Members beyond “what Vanguard already

must pay them under regulatory settlements,” blatantly mischaracterizing the SEC Settlement as a

“pre-existing obligation.” Hughes Objection at 1 (emphasis in original). In reality, the SEC

Settlement was dated January 17, 2025, four months after the Parties signed a binding term sheet

at the mediation, and nearly two months after the Court preliminarily approved the Settlement.



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Hughes provides absolutely no evidence, nor are Plaintiffs or Class Counsel aware of any,

indicating that Vanguard had already agreed to pay any amount to the SEC at the time the

Settlement Amount was negotiated and agreed at the mediation. Baker Suppl. Decl. ¶14. To the

contrary, the timing of the two settlements makes clear that the SEC Settlement is the one that

encompasses consideration “already” promised to, and indeed already paid into the Escrow

Account for, the Settlement Class.12

       The SEC Settlement simply added a backstop, effectively guaranteeing the $40 million

recovery already secured in this Action only if this Settlement was ultimately terminated or not

approved. The SEC has not objected to the Settlement, nor has it suggested in any respect that the

Settlement does not merit final approval. Indeed, the more plausible inference to draw from the

timing of the two settlements is that the SEC may have only negotiated a $95 million settlement

payment from Vanguard, but they added a provision guaranteeing the $40 million already secured

in this Settlement so that the SEC could claim a larger top-line recovery. That the SEC Settlement

was announced on the very last business day before Inauguration Day also suggests that optics

played a role in the negotiation of the SEC Settlement, including the unusual timing of its

announcement given the well-underway settlement approval process here.

       None of the cases that Hughes cites supports the proposition that the existence of a later

additional settlement somehow deprives a substantial prior settlement of its value. None of the

cases Hughes cites even remotely resemble the facts presented here. See In re Gen. Motors Corp.

Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 806 (3d Cir. 1995) (assessing the

economic value of coupons provided under the settlement); In re Subway Footlong Sandwich



12
  Defendants caused the entire Settlement Amount to be paid into the Escrow Account on
December 17, 2024, one month before the SEC Settlement. Baker Suppl. Decl. ¶14.


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Mktg. & Sales Pracs. Litig., 869 F.3d 551, 556 (7th Cir. 2017) (“And after the settlement, just as

before, the rare sandwich that falls short of the full 12 inches will still provide the customer the

same amount of food as any other. The injunctive relief approved by the district judge is utterly

worthless.”); Koby v. ARS Nat’l Servs., Inc., 846 F.3d 1071, 1080 (9th Cir. 2017) (proposed

settlement “merely requires ARS to continue using the same voicemail message it voluntarily

adopted back in 2011”); Drazen v. Pinto, 106 F.4th 1302, 1331 (11th Cir. 2024) (“the Agreement

provided for preferential treatment for [the plaintiffs]... and guaranteed that their [counsel’s]

attorney’s fees of up to $10.5 million would not be reduced”).

       Hughes attempts to argue that the Settlement Class would be better off if the Court rejected

the Settlement because the Settlement Class would recover the same amount from the SEC’s Fair

Fund without deducting any attorneys’ fees and expenses for Plaintiffs’ Counsel, but that

unremarkable proposition is always the case in any settlement where attorneys’ fees are awarded

from a common fund. Any class would be better off if it stiffed its attorneys after reaping the

rewards from the attorneys’ efforts in creating a settlement fund. Hughes is essentially arguing that

Plaintiffs’ Counsel deserve no compensation for the thousands of hours of work they committed

to this Action that resulted in the $40 million Settlement. This flies in the face of the long-standing

common fund doctrine, as explained in the Final Approval Brief at 3-4, which Hughes simply

ignores.

       To the extent Hughes baselessly insinuates that counsel for the Parties may have known

about the SEC Settlement four months in advance during the mediation, Class Counsel has already

expressly denied that under penalty of perjury. Dkt. No. 156 ¶¶55-57. The mediator, Judge Phillips,

also submitted a declaration attesting to the adversarial and arms’-length negotiations at the

mediation. Dkt. No. 156-24 ¶8. That Vanguard may have known of its own ongoing regulatory




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negotiations with the SEC is unremarkable and has no bearing on the fairness, reasonableness, or

adequacy of the Settlement. Contrary to Hughes’ baseless speculation (Hughes Objection at 5),

there is absolutely no evidence suggesting that prior to the mediation, Vanguard had already

committed to paying to the SEC whatever amount was subsequently negotiated in this Action,

much less that Plaintiffs or their counsel had reason or ability to know of any such agreement at

the mediation or at any point prior to the announcement of the SEC Settlement.

               2.      Hughes’ Criticisms of the Notice Are Misplaced and Lack Merit

       The notice issued to Settlement Class Members was approved by the Court two months

before the SEC Settlement was announced (Preliminary Approval Order ¶9) and disseminated to

Settlement Class Members beginning in December 2024 (Evans Decl. ¶6). Hughes’ objection that

the notice was nevertheless deficient for failing to disclose the SEC Settlement is nonsensical. The

SEC Settlement itself was publicly announced. Dkt. No. 156-25. Drazen counsels no differently

regarding notice. 106 F.4th at 1337 (district court erred in failing to inform class members of

defendants’ total liability exposure or that a dispositive issue in the case was pending decision in

the Supreme Court). Here, the Long Notice explained that the $40 million Settlement Amount

represented approximately 15.4% of the maximum damages estimated by Plaintiffs’ expert. Unlike

the pending Supreme Court decision in Drazen, the SEC Settlement has zero effect on any term or

provision of this Settlement, it simply guaranteed the payment of the $40 million already

committed in the Settlement.

       Hughes also misconstrues Plaintiffs’ account of the maximum damages estimated by

Plaintiffs’ damages expert. As described in the Final Approval Brief at 14 n.3, which Hughes

ignores:




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               Plaintiffs’ expert, Dr. Tabak, estimated the present value of
               aggregate damages by using the “Alternative Methodology”
               detailed in Dr. Tabak’s expert reports (Dkt. Nos. 125-3 and 141-2).
               The key assumptions used in arriving at this damages estimate
               include: (i) investors would sell all of their TRF shares 10 years after
               the target date(s); (ii) the Court would apply an interest rate equal to
               the federal prime rate (8.0% at the time of calculation); (iii) investors
               would fall one income tax bracket lower in retirement when they
               sold their TRFs; and (iv) only distributions tied to investors who
               redeemed Investor TRFs and bought the equivalent Institutional
               TRFs on the same day were attributed to Defendants’ conduct. Dr.
               Tabak also incorporated data on taxable investors’ 2021 holdings
               from Vanguard’s internal documents, as well as IRS data on the
               population distribution of capital gains tax rates. Baker Decl. ¶44.

Further, as explained in the Final Approval Brief and Fee Brief, the $259.5 million figure is Dr.

Tabak’s estimate of the present value of aggregate damages that would be recovered by the class

in Plaintiffs’ best-case scenario. (Final Approval Brief at 14; Fee Brief at 6-7). Those are the

“maximum” estimated aggregate damages because they do not account for the myriad litigation

risks that Plaintiffs faced, or a claims rate of less than 100% of the class, or the discount from

having to wait through years of continued litigation, appeals, and claims processing before

recovering a judgment. See id.

       As explained in Dr. Tabak’s expert reports (Dkt. Nos. 125-3 and 141-2), applying his

“Alternative Methodology” as opposed to his “Primary Methodology” is necessary to calculate

damages without waiting decades to find out how and when class members actually dispose of

their TRF shares and what offsetting tax benefits (if any) they ultimately receive at some future

date from the 2021 distribution. The Alternative Methodology necessarily employs assumptions

to account for these yet-undetermined variables on an aggregate basis for hundreds of thousands

of class members, including projecting how many TRF shares were held by class members in non-

Vanguard taxable accounts, when class members would dispose of their shares, what their

individual capital gains tax rates were for 2021 and what it would be at such future time, or what



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state they might live in. Naturally, there are a range of values one could apply for each of these

assumptions, with varying degrees of aggression and realism. Hughes speculates that Plaintiffs

could have arrived at an even higher aggregate damages estimate because they could have used

more aggressive assumptions or included each scintilla of possible damages regardless of how

provable they were (especially on a class-wide basis through common proof) or how material they

were to settlement negotiations. However, the converse is true as well. Defendants contended that

much more conservative assumptions were appropriate, as some class members likely sold long

before their “target date,” reducing estimated aggregate damages to a fraction of what Plaintiffs

claimed.13 In any event, Plaintiffs were under no obligation to calculate and/or provide every

possible permutation, or the most aggressive possible estimate, nor did they purport to do so in

presenting their estimate of the present value of aggregate damages using a disclosed set of

assumptions under the Alternative Methodology.

       Finally, Hughes wrongly asserts that “Class counsel erred in assuming the burden of

speculating about potential tax savings.” Hughes Objection at 8. Creating a novel damage model

for trial was not Plaintiffs’ only challenge; they also bore the burden of proof to satisfy the

predominance inquiry for class certification under Rule 23(b)(3). Accounting for future tax

benefits may have been Defendants’ burden at the merits stage as an affirmative defense (assuming

the Court accepted that framing for this novel tax-based damages theory), but Plaintiffs still had

to show that these individualized inquiries could be handled through a common damages

methodology that could be applied class-wide based on common sources of proof, in order to


13
  Investors may sell the TRFs at any point for myriad reasons, even if they originally planned to
never sell and pass the funds on through their estates as Hughes purports: they might be rebalancing
their portfolio away from securities and into real estate; they may prefer to invest in different
securities; their income or tax status may change; or they may incur major unexpected expenses
or loss of income and need to sell the TRFs for cash.


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satisfy predominance for their class certification motion. Hughes ignores this reality.14 Moreover,

even if Plaintiffs had adopted Hughes’ ill-informed approach and still managed to obtain class

certification (and survive an inevitable Rule 23(f) appeal), they could not realistically assert in

settlement negotiations that there was absolutely no offsetting value to potential future tax benefits

in the aggregate, regardless of whose burden it would be. Hughes’ argument simply ignores the

realities of economics and the significant challenges inherent in complex class action litigation.

               3.      Hughes’ Objections to the Plan of Allocation Lack Merit

       Hughes’ arguments regarding purported deficiencies in the Plan of Allocation fail for

similar reasons as the Brewer Objection. Hughes identifies no actual conflicts of interest or

evidence of bias. The Plan of Allocation has a rational, reasonable basis, was developed by counsel

and a well-informed expert, and was approved by a diverse set of Plaintiffs who held eleven of the

twelve TRF vintages and unanimously approved the Settlement. See supra, §III(D). In contrast,

the court in Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 189 (3d Cir. 2012) found that

“the representative plaintiffs and their counsel could not adequately represent the entire class” in

determining settlement allocation between two subgroups because all of the representative

plaintiffs were in the same subgroup. Here there are no alleged “misaligned incentives or intra-

class conflict” with which the Dewey court was concerned. Id. at 188. The Settlement does not

treat Settlement Class Members inequitably simply because different claimants receive different

recoveries under the Plan of Allocation, which “is simply a reflection of the extent of the injury

that certain class members incurred and does not clearly suggest that the class members had

antagonistic interests.” In re Ins. Brokerage Antitrust Litig., 579 F.3d 241, 271–72 (3d Cir. 2009).


14
   Hughes should be familiar with this particular aspect of litigation as he appears to be an attorney
at a major law firm, Milbank LLP, where his biography on the firm’s website touts his “significant
experience in class action lawsuits.” Baker Suppl. Decl. ¶15.


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       Hughes essentially argues that the Plan of Allocation, developed by Class Counsel and

Plaintiffs’ well-informed economic damages expert, is flawed because it assumes TRF investors

would sell their shares ten years after the respective “target date” for their fund. Hughes instead

relies on his own unsupported assumption that class members would not ever sell their TRF

holdings. An assumption must be made for this factor to calculate distributions now and avoid

waiting decades to determine each class member’s actual outcome. See Final Approval Brief at

22. That Hughes disagrees with the assumption selected by Plaintiffs and their expert, based on

nothing more than his own conjecture, is not grounds for finding the Plan of Allocation lacks a

rational basis. To the extent Hughes asserts that the Plan of Allocation “disadvantages elderly class

members” by assigning lower weights to earlier TRF vintages, one could just as easily argue that

applying Hughes’ preferred assumption would disadvantage younger class members in the same

way by assigning relatively lower weights to the later TRFs.15

       Hughes’ proposed “two-track claims process” is also fundamentally flawed, as class

members could not prove (and would be incentivized to lie about) their future plans, and he

suggests no reliable factual basis upon which to calculate the probabilities of future tax savings.

These are issues Plaintiffs and their expert already grappled with in arriving at their proposed

damages model. Hughes’ half-baked and unsupported assertions of what he thinks might be a fairer




15
   Hughes also incorrectly, and baselessly, asserts that elderly class members are “more likely to
pass away without selling.” Hughes Objection at 9-10. Such class members may also be more
likely to sell their funds sooner in need of liquidity since they are less likely to have significant
income in retirement, and younger class members would be just as likely to sell or not sell at times
relative to their respective (presumably later) target dates.


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allocation do not weigh against approving the proposed Plan of Allocation, nor do they render the

Settlement unfair or inequitable in any respect.16

               4.      Hughes’ Additional Claims of Procedural Deficiencies Lack Merit

       Hughes’ assertion that the Court-approved notice program was inadequate are plainly

belied by the extremely high participation rate of Settlement Class Members. Evans Suppl. Decl.

¶13 (over 180,000 claims received out of roughly 312,000 potential Settlement Class Members

who were sent direct notice (Id. ¶5 ). Hughes even concedes that he received notice via email, he

just happened to overlook it. Hughes Objection at 11. Hughes also elides the publication of the

Summary Notice, establishment of the Settlement-dedicated website, and the significant media

coverage that this Settlement received (see Baker Suppl. Decl. ¶16), which was apparently

sufficient to allow Hughes to find all relevant details about the Settlement in timely fashion despite

overlooking the email notice he received. Hughes Objection at 11. Moreover, Hughes completely

fails to engage with any of the case law Plaintiffs cited showing that courts in this Circuit routinely

approve similar notice programs. See Final Approval Brief at 25.

       Hughes also decries as “Draconian” the opt-out requirements that were previously

approved by the Court, although he does not claim that he was prevented or dissuaded from opting

out himself. Preliminary Approval Order ¶¶25-26.17 Of the twelve requests for exclusion received

by SCS, only three were rejected as failing to adhere to the Court’s requirements. Evans Suppl.


16
  Hughes received total capital gains distributions of only $6,750.67. While his actual damages
(even assuming no offsetting future tax benefit) are likely only slightly over $1,000, Hughes
actually benefits from the Plan of Allocation as his investment in the 2050 TRF has a weight of
14.394, third-highest of the twelve fund weights. Any re-weighting of the funds in the manner
Hughes suggests would almost certainly decrease his relative claim, and thus his recovery.
17
   The requirement that an exclusion request be signed under penalty of perjury requires a single
sentence. There is no evidence that any Settlement Class Members were dissuaded from opting
out by that (or any other) requirement. Indeed, none of the deficient exclusion requests were
rejected on that basis. Baker Suppl. Decl. ¶17.


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Decl. ¶11. Each were given notice and an opportunity to cure the deficiencies, which included

failing to provide contact information and failing to sign the requests. Baker Suppl. Decl. ¶17.

None responded. Evans Decl. ¶15; Evans Suppl. Decl. ¶11. Other courts in the Third Circuit

regularly impose the same or comparable requirements for exclusion requests as those imposed by

the Preliminary Approval Order here. See Baker Suppl. Decl., Exs. 3-5 (Whiteley v. Zynerba

Pharmaceuticals, Inc., et al., 2:19-cv-04959-NIQA (E.D. Pa.), Dkt. No. 44, ¶22; In re Electric

Last Mile Solutions, Inc. Securities Litigation, No. 2:22-cv-545-MEF (D.N.J.), Dkt. No. 131, ¶23;

Beltran v. SOS Limited, et al., No. 1:21-cv-7454-RBK (D.N.J.), Dkt. No. 47, ¶24). Thus, there is

no support for Hughes’ contention that the opt-out requirements are coercive in any way.

       The overwhelming response of Settlement Class Members affirmatively opting in by filing

over 180,000 claims, Evans Suppl. Decl. ¶13, also cuts against Hughes’ unsupported speculation

that the opt-out requirements somehow “strong-armed class members to stay in.” Hughes

Objection at 12. Hughes’ objection to the Court’s requirement that Settlement Class Members

requesting exclusion must document the amount of their total holdings in the Investor TRFs at the

time the 2021 capital gains distributions were made ignores the fact that requirement is needed to

verify that the requestor is actually a Settlement Class Member, particularly if they do not provide

an Identification Number, which not all Settlement Class Members were assigned.

               5.      The Court Should Deny Hughes’ Vague Requests for Discovery

       As an initial matter, Hughes’ claim that the Parties ignored his requests for further

information is belied by his communications with Class Counsel. Hughes Objection, Ex. A.

Hughes requested further information and documents on February 3, 2025. See id. Plaintiffs filed

the Motions and supporting papers, which addressed many of the concerns from Hughes’ email,

on February 4, 2025. Dkt. Nos. 154-56. Hughes therefore could not have reviewed those filings at




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the time of his inquiry. Hughes did not specify what information he still sought after reviewing

those papers, nor did he address how Plaintiffs’ filings did or did not resolve his questions. As

demonstrated above, Plaintiffs believe that their submissions in support of the Motions adequately

address all of the salient concerns raised by Hughes in his February 3, 2025 email.

       Hughes does not specify anywhere in his objection exactly what documents or information

he is still seeking from which Parties, after having now reviewed Plaintiffs’ Motions. To the extent

Hughes seeks the non-public expert reports or calculations of Dr. Tabak prepared at Class

Counsel’s direction for litigation and/or settlement purposes, both attorney work product and

settlement privilege preclude discovery of any such documents.

       The cases that Hughes cites regarding discovery are inapposite. In In re Cmty. Bank of N.

Virginia, 418 F.3d 277, 316 (3d Cir. 2005) the Third Circuit “recognized that discovery may be

appropriate if lead counsel has not conducted adequate discovery or if the discovery conducted by

lead counsel is not made available to objectors,” and “it is undisputed that no formal discovery

was undertaken by class counsel.” Here, in contrast, Plaintiffs reviewed over 200,000 pages of

documents from Defendants and third parties in discovery, and Hughes does not appear to be

seeking any of those materials. Girsh, 521 F.2d at 157 likewise involved an objector seeking

documents produced to plaintiffs during discovery. The Third Circuit has also since explained that

its finding in Girsh “was predicated on the total inadequacy of the record upon which the settlement

was approved and the totality of the circumstances surrounding the settlement hearing in which

the objector was denied meaningful participation,” Cmty. Bank, 418 F.3d at 316, circumstances

which are not present here.

       More recently, the Third Circuit has rejected discovery requests by class action objectors

unless “objectors can make a colorable claim that the settlement should not be approved.”




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McDonough v. Horizon Blue Cross Blue Shield of New Jersey, 641 F. App'x 146, 152 (3d Cir.

2015). In McDonough, the Third Circuit found that “[t]he District Court did not err in concluding

that the objectors had failed to make the requisite showing that further discovery was warranted,”

after years of litigation and the completion of significant document discovery. Id. at 153 (“The

objectors’ demand for additional discovery is not linked to any identified issue with the settlement,

nor have the objectors articulated any fact they might hope to uncover”). For the reasons explained

above, Hughes has not made a colorable claim that the Settlement should not be approved, and the

Court should deny his putative discovery requests.

IV.      CONCLUSION

         For the foregoing reasons, and those set forth in Plaintiffs’ opening briefs, the Court should

overrule each of the objections and grant Plaintiffs’ motions for: (1) final approval of the proposed

Settlement and Plan of Allocation; and (2) for an award of attorneys’ fees, reimbursement of

expenses, and awards to Plaintiffs.



      Dated: February 25, 2025                           THE ROSEN LAW FIRM, P.A.

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